
35 So.3d 985 (2010)
RELIANCE PROPERTY MANAGEMENT, INC., Appellant,
v.
TRANSPORTATION EQUIPMENT SPECIALISTS, INC., Appellee.
No. 3D09-411.
District Court of Appeal of Florida, Third District.
May 19, 2010.
Feldman Koenig Highsmith &amp; Van Loon and David Van Loon, Key West, for appellant.
*986 Garcia &amp; Smith and Manuel E. Garcia, Key West, for appellee.
Before COPE, SHEPHERD and SUAREZ, JJ.

On Rehearing
PER CURIAM.
On consideration of the motion for rehearing filed by plaintiff-appellant Reliance Property Management, Inc., the court withdraws its previous opinion and substitutes the following opinion.
This is an appeal of an order granting a motion to transfer venue from Monroe County to Duval County, Florida. Upon consideration of the appendix filed by the plaintiff, the motion to transfer venue filed by defendant-appellee Transportation Equipment Specialists, Inc. asserted both improper venue and a request for transfer of venue for the convenience of the parties and witnesses under section 47.122, Florida Statutes (2008). The limited record provided in the plaintiff's appendix does not demonstrate any abuse of discretion by the trial court. See Garcia v. Garcia, 958 So.2d 947 (Fla. 3d DCA 2007). Accordingly, the order now before us is affirmed.
